UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

 In re:
                                                       Case No. 19-20905
 The Diocese of Rochester,
                                                       Chapter 11
                        Debtor.



                   AMENDED NOTICE OF MOTION OF THE DEBTOR
                      FOR ENTRY OF AN ORDER AUTHORIZING
                  THE DEBTOR TO OBTAIN SECURED CREDIT CARDS

          PLEASE TAKE NOTICE that, on November 20, 2019, the above-captioned debtor and

debtor-in-possession (the “Debtor”) filed the Motion of the Debtor for Entry of an Order

Authorizing the Debtor to Obtain Secured Credit Cards (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that the Debtor will move before the Honorable

Paul R. Warren, United States Bankruptcy Judge, United States Bankruptcy Court for the

Western District of New York, at the Federal Building, 100 State Street, Rochester, New York

on December 5, 2019 at 11:00 a.m. (prevailing Eastern Time), or as soon thereafter as counsel

may be heard, for the entry of an order granting the relief sought in the Motion, and for such

other and further relief as the Court deems just and proper.

          PLEASE TAKE FURTHER NOTICE that all responses or objections to the relief

requested in the Motion, if any, must comply with the Federal Rules of Bankruptcy Procedure

and be filed with the United States Bankruptcy Court Clerk’s Office in Rochester, New York and

served upon the undersigned counsel for the Debtor on or before December 2, 2019.

          PLEASE TAKE FURTHER NOTICE that a complete copy of the Motion may be

obtained from the Clerk’s Office, United States Bankruptcy Court for the Western District of




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New York, Rochester Division via the Court’s electronic case management system at

https://ecf.nywb.uscourts.gov, or from the undersigned counsel for the Debtor.



Dated: November 20, 2019                            BOND, SCHOENECK & KING, PLLC


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